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                  GOLDMAN v HEALTHCARE MANAGEMENT SYSTEMS
                               Case No. 1:05-cv-0035

    PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY

                                         List of Exhibits



Exhibit A       Joel Goldman Deposition Transcript

Exhibit B       Declaration of Joel Goldman

Exhibit C       Thomas E. Givens Deposition Transcript

Exhibit D       John Doss Deposition Transcript

Exhibit E       HMS Certificate of Registration – TX 3-950-119

Exhibit F       HMS Certificate of Registration – TX 4-199-339

Exhibit G       4/5/04 Eckler email to J. Goldman

Exhibit H       HIS Certificate of Registration – TX 6-023-458

Exhibit I       Goldman Copyright Registration Deposit Materials
                     1.     HMRAE7 Source Code
                     2.     HMRY50 Source Code

Exhibit J       Goldman 1979 – 1983 Source Code
                      1.    UGDRG Source Code
                      2.    HMRA95 Source Code

Exhibit K       Medical Records Printouts:
                      1.     Goldman HMRAE7
                      2.     HMS MROAE7

Exhibit L       HMS MROAE7 Source Code




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